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IN THE UNITED sTATEs DISTRICT coURT

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JAMES I. BURLIsoN, RoDNEY L. ' ` `]j'M&MPmS
wAITs, and BUFORD o'NEAL

TANKERSLEY,
Plaintiffs,
V.

No. 04-2597 Ml/P

UNITED STATES OF AMERICA,

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Defendant.

 

ORDER DENYING DEFENDANT'S MOTION TO DISMISS

 

Before the Court is Defendant's Motion to Dismiss, filed
January 27, 2005. Plaintiff filed an opposition on March 29,
2005. For the following reasons, Defendant’s motion is DENIED.

Plaintiff brings this action pursuant to 28 U.S.C. § 2409 to
quiet title to a purported easement over part of the Lower
Hatchie National Wildlife Refuqe located in Lauderdale County,
Tennessee, to and from property held by Plaintiffs.1 Defendant
moves to dismiss Plaintiff’s action based upon the statute of
limitations.

A defendant may move to dismiss a purportedly untimely claim

“for failure to state a claim upon which relief can be granted”

 

1 Section 2409 provides that “[t]he United States may be
named as a party defendant in a civil action under this section
to adjudicate a disputed title to real property in which the
United States claims an interest, other than a security interest
or water rights.” 28 U.S.C. 2409.

   
 

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with F\u\e 58 and/or 79(3)

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under Federal Rule of Civil Procedure l2(b)(6). When considering
a Rule lZ(b)(6) motion, a court must treat all of the well-
pleaded allegations of the complaint as true. Saylor v. Parker
Seal Co., 975 F.2d 252, 254 (6th Cir. l992). Furthermore, the
court must construe all of the allegations in the light most
favorable to the non-moving party. Scheuer v. Rhodes, 4l6 U.S.
232, 236 (l974). “A court may dismiss a [claim under lZ(b)(@)]
only if it is clear that no relief could be granted under any set
of facts that could be proved consistent with the allegations.”
Hishon v. King & Spalding, 46? U.S. 69, 73 (l984).

An action under § 2409 must be brought within twelve years
of the date upon which it accrued. 28 U.S.C. § 2409a. Such an
action accrues “on the date the plaintiff or his predecessor in
interest knew or should have known of the claim of the United
States.” ld; The parties point to, and the Court has found
through its own research, no legal authority within the Sixth
Circuit interpreting § 2409a. Accordingly, the Court looks to
the interpretation of other Circuit Courts of Appeal in order to
resolve Defendant's motion.

Under § 2409a, a plaintiff knows or should know of such a
claim of the United States when “the government, ‘adversely to
the interests of plaintiffs, denie[s] or limit[s] the use of the
[easement] for access to plaintiffs’ property.'” Michel v.

United States, 65 F.3d 130, 132 (9th Cir. 1995)(finding

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plaintiff’s claim of access to trails across wildlife refuge did
not accrue until plaintiffs knew or should have known the
government claimed an exclusive right to deny their access to
those trails)(guoting Werner v. United States, 9 F.3d 1514, 1516
(llth Cir. l993)). When the plaintiff claims a non-possessory
interest such as an easement, the mere knowledge of the
government's claim of ownership does not trigger the statute of
limitations. Michel, 65 F.Bd at 132,'2 see also Werner, 9 F.3d at
l5l6 (finding limitations period on plaintiffs’ claim of an
easement over government land had not run even though plaintiffs

knew of the government's title for more than twelve years).

In the case at bar, Defendant contends that Plaintiffs’
cause of action accrued in November of l99l, when the United
States' claim of a controlling interest in the access road was
purportedly set forth in special use permits accepted by

Plaintiffs' predecessors in interest. However, the existence of

 

2 As the Michel Court noted:

A contrary holding would lead to premature, and often
unnecessary, suits. If a government claim to title
were sufficient to trigger the running of the
limitations period on any claim affecting use of the
property, a claimant of a right of access would be
forced to bring suit within twelve years even though
the government gave no indication that it contested the
claimant's right. The claimant would be compelled to
sue to protect against the possibility, however remote,
that the government might someday restrict the
claimant's access. The statute should not be read to
create such an undesirable result.

Michel, 65 F.Bd at l32.

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a special use permit does not necessarily indicate the

Government's contestation of the existence of an easement. See

 

Roth v. United States, 326 F.Supp.2d 1163, 1168 (D. Mont.
2003)(finding existence of special use permit to build dam and
reservoir did not indicate that the Government necessarily
contested the presence of an easement for the dam and reservoir).
Moreover, Plaintiffs contend that they were not aware that
Defendant was asserting a right to exclude Plaintiffs from its
property until December of 2002, well within the 12-year filing
period. Accordingly, treating all of the well-pleaded
allegations in the Complaint as true and construing those
allegations in the light most favorable to the Plaintiff, genuine
issues of material fact exist regarding whether Plaintiffs timely
filed their Complaint. Defendant's motion to dismiss is

therefore DENIED.

So ORDERED this [<Zth day of June, 2005.

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JO P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

 

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This notice confirms a copy of the document docketed as number 38 in
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Honorable J on McCalla
US DISTRICT COURT

